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                                   United States District Court
                                      Eastern District of Missouri
                                  Thomas F. Eagleton U.S. Courthouse
                                        111 South 10th Street
                                      St. Louis, Missouri 63102

Gregory J. Linhares                                                                             314-244-7900
  Clerk of Court

                                             December 26, 2019


    Craig W. Richards
    ONDERLAW, LLC
    110 E. Lockwood Ave.
    St. Louis, MO 63119

    RE:               Abram et al v. TitleMax of Missouri, Inc.
    Case #            4:19-cv-03322 HEA

    Dear Craig W. Richards:

    Please refer to Local Rule 12 for the Eastern District of Missouri concerning attorneys who
    reside in the Eastern District of Missouri, are regularly employed in the Eastern District of
    Missouri, or are regularly engaged in the practice of law in the Eastern District of Missouri. To
    apply for admission to our bar, please follow the instructions located on our website at
    www.moed.uscourts.gov under the Attorneys tab.

    If you have any questions concerning this matter, please contact our office.

    Sincerely,
    GREGORY J. LINHARES, CLERK OF COURT



    By:      /s/Jason W. Dockery
             Deputy Clerk

    Enclosure(s)
